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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

KIMBERLEE A. FRAREY,
                                  Plaintiff,

       -vs-                                               _______-cv-_______
ANTHONY L. JORDAN
HEALTH CORPORATION,
                       Defendant.
_____________________________________

                                 COMPLAINT
       Plaintiff Kimberlee A. Frarey, by and through her attorneys, upon personal

knowledge as to herself and upon information and belief as to other matters, brings this

complaint against defendant Anthony L. Jordan Health Corporation, and alleges as

follows:

                         PRELIMINARY STATEMENT

       1.     This is a civil action by Kimberlee A. Frarey (“Ms. Frarey”) against

defendant Anthony L. Jordan Health Corporation (“Jordan Health”) under the anti-

retaliation provisions of the Federal False Claims Act, 31 U.S.C. § 3729 et seq. and the

New York False Claims Act, N.Y. State Finance Law § 187 et seq.

       2.     As alleged in this complaint, Jordan Health unlawfully harassed,

threatened, demoted, disciplined, and ultimately terminated Ms. Frarey in retaliation

for her investigation into and reporting of a potential fraud against the U.S. Department

of Health and Human Services and the State of New York, orchestrated by Jordan

Health’s senior management, and for her continued investigation into a potential cover-

up of that activity.


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                          JURISDICTION AND VENUE

       3.     This Court has subject matter jurisdiction over the claims alleged in this

complaint pursuant to 28 U.S.C. § 1331 as this matter involves federal questions because

this case is brought under the False Claims Act, 31 U.S.C. § 3730(h).

       4.     This Court has supplemental jurisdiction over the New York state law

claims under 28 U.S.C. § 1367(a), as they are so related in this action within such

original jurisdiction that they form part of the same case or controversy under Article III

of the United States Constitution.

       5.     Venue is proper in the Western District of New York under 28 U.S.C. §

1391(b) because Jordan Health resides and transacts business, and because a substantial

part of the events or omissions on which the claims are based, occurred in this District.


                                       PARTIES

Plaintiff Kim Frarey

       6.     Ms. Frarey is a resident of Rochester, New York.

       7.     In or about May 2008, Jordan Health hired Ms. Frarey as its Chief

Operating Officer (“COO”), and, in or about September 2009, Ms. Frarey moved from

the position of COO to the position of Chief Compliance Officer (“CCO”).

       8.     Throughout her employment with Jordan Health, Ms. Frarey was qualified

for the jobs she held and consistently received excellent performance reviews.

       9.     At all relevant times, Ms. Frarey was an “employee, contractor, or agent”

of Jordan Health within the meaning of the False Claims Act, 31 U.S.C. § 3730(h).




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Defendant Jordan Health

      10.    All actions and omissions described in this complaint were made by

Jordan Health directly and/or through its supervisory employees and agents.

      11.    Upon information and belief, Jordan Health is a not-for-profit corporation

organized under the laws of the State of New York and has its principal place of business

at 82 Holland Street, Rochester, New York 14605.

      12.    Upon information and belief, Jordan Health is and was a federally

qualified health center (“FQHC”) funded by the federal government and the State of

New York.

      13.    Upon information and belief, as a FQHC, Jordan Health receives federal

and state funding to provide primary health care and related services to unserved and

underserved populations in health professional shortage areas.

      14.    Upon information and belief, in or about December 2012, Janice Harbin

(“Harbin”) became the President/CEO of Jordan Health and served in that role

throughout the relevant events described herein.

      15.    Upon information and belief, in or about late 2013, Jason Dunn (“Dunn”)

became the COO of Jordan Health and served in that role throughout the relevant

events described herein.

      16.    Upon information and belief, Shelley Knapp (“Knapp”) was Jordan

Health’s Senior Director of Human Resources and Talent Management and served in

that role throughout the relevant events described herein.

      17.    This Court has personal jurisdiction over Jordan Health pursuant to 31

U.S.C. § 3732(a) because Jordan Health can be found, resides, and transacts business in

the Western District of New York.


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                             FACTUAL ALLEGATIONS

I.    Ms. Frarey obtained information concerning a potential fraud on
      the government.
      18.     On or about July 16, 2015, Ms. Frarey obtained information from a Jordan

Health employee (the “reporting employee”) that a member of Jordan Health’s senior

management, Dunn, had improperly authorized payment of approximately $10,000 to

another member of Jordan Health’s senior management, Knapp, through a scheme in

violation of Jordan Health’s payment and benefit policies (hereinafter, “the

Misappropriation Scheme”).

      19.     The reporting employee also told Ms. Frarey that Dunn and Knapp had an

inappropriate relationship that was causing dysfunction within the Human Resources

department.

      20.     Ms. Frarey instructed the reporting employee to speak directly with

President/CEO Harbin regarding the issues to allow Harbin to have an opportunity to

address the issues, including because Dunn reported directly to Harbin, and Knapp

reported directly to Dunn.


II.   Ms. Frarey engaged in protected activity; and Jordan Health had
      notice that Ms. Frarey was investigating the Misappropriation
      Scheme.
      A.      Ms. Frarey initiated an investigation into the Misappropriation
              Scheme.
      21.     Following her instructions to the reporting employee, and concerned that

the Misappropriation Scheme may have violated the False Claims Act, Ms. Frarey

initiated her own investigation into the Misappropriation Scheme, directed at exposing

a fraud on the government.


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       22.    On or about July 17, 2015, Ms. Frarey pulled payroll records and met with

a Jordan Health payroll clerk.

       23.    Ms. Frarey determined that Dunn had improperly directed the payment of

thousands of dollars to Knapp to which Knapp was not entitled; that Knapp had

received those monies through payroll deposit into her personal checking account; and

that Knapp had knowingly retained those monies.

       24.    After Ms. Frarey confirmed the Misappropriation Scheme, the reporting

employee informed Ms. Frarey that Harbin had told the reporting employee that she did

not care about the money Dunn had improperly directed to Knapp and that she did not

have a problem with the conduct, among other things.

       25.    By investigating the Misappropriation Scheme, Ms. Frarey engaged in

protected activity.


       B.     Ms. Frarey had an initial meeting with Harbin regarding the
              Misappropriation Scheme.
       26.    Shortly thereafter, Ms. Frarey met with Harbin and informed her, among

other things, that Ms. Frarey’s investigation corroborated the Misappropriation Scheme

and told Harbin that it was a grave problem for senior leadership to misappropriate

money provided to Jordan Health by the government for the purpose of carrying out

Jordan Health’s mission of providing healthcare to the poor and vulnerable.

       27.    Ms. Frarey also informed Harbin that Ms. Frarey’s investigation was

underway and that the matter needed to be reported to the Board.

       28.    By investigating and reporting the Misappropriation Scheme to Harbin,

Jordan Health’s President/CEO, Ms. Frarey engaged in activity protected by the False

Claims Acts and also made Jordan Health aware that she was investigating the potential


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that certain members of Jordan Health’s senior management had committed a fraud on

the government.


      C.     Ms. Frarey informed members of Jordan Health’s Board of the
             Misappropriation Scheme.
      29.    Around the same time, Ms. Frarey also reported the Misappropriation

Scheme to Cynthia Herriott (“Herriott”), Chair of the Board Compliance Committee,

and Gaynelle Wethers (“Wethers”), Board Chair and member of the Board Compliance

Committee, who directed that Ms. Frarey formally report the matter at the July Board

Compliance Committee meeting (the “July Compliance Meeting”) and, then, to the full

Board at the regular July Board meeting scheduled for July 28, 2015 (the “July 28 Board

Meeting”).

      30.    Ms. Frarey reported on the existence and nature of the Misappropriation

Scheme at the July Compliance Meeting.

      31.    Ms. Frarey thereafter attended the July 28 Board Meeting along with

Jonathan Clune (“Clune”), who at all relevant times was Jordan Health’s Chief Financial

Officer (“CFO”).

      32.    At the July 28 Board Meeting, Ms. Frarey reported to the full Board on the

existence and nature of the Misappropriation Scheme, and informed the Board that her

investigation into the Misappropriation Scheme was underway.

      33.    During that meeting, Harbin repeatedly interrupted Ms. Frarey and

objected to Ms. Frarey’s reporting on the relationship between Dunn and Knapp; and

Harbin told the Board that Dunn is “very important to Jordan.”

      34.    On July 30, 2015, Clune sent an email to the Board describing the

Misappropriation Scheme as “larceny.”


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       35.    At or about the same time, Clune told Ms. Frarey that Harbin was more

concerned that Ms. Frarey had reported the issue than the fact that Knapp and Dunn

had misappropriated the money from Jordan Health.

       36.    A special Board meeting was set for August 6, 2015, for the purpose of

updating the Board on Ms. Frarey’s investigation into the Misappropriation Scheme (the

“August 6 Board Meeting”).

       37.    At the August 6 Board Meeting, Ms. Frarey reported on the

Misappropriation Scheme and addressed risks relating to the misappropriation of

government funds intended for providing healthcare to Jordan Health’s patients, and

confirmed that the Misappropriation Scheme could constitute a fraud on the

government, among other things.

       38.    At the August 6 Board Meeting, Ms. Frarey’s report recommended

discipline of Dunn and Knapp, up to and including termination, and restitution, if

legally possible; however, Jordan Health’s attorney stated that he did not think that Ms.

Frarey, Jordan Health’s CCO, should have any involvement in the matter or make

disciplinary recommendations concerning Dunn and Knapp.

       39.    Discussion at the August 6 Board Meeting focused on the termination of

Dunn and Knapp and the possibility of criminal remedies, as well as restitution if legally

possible; Harbin vehemently objected to the termination of Dunn and Knapp, and to the

possibility of criminal remedies.

       40.    During the August 6 Board Meeting, Harbin refused to terminate Dunn,

however, telling the Board, “if you don’t like my decision, you can take it up in my

performance evaluation.” In response, Board members told Harbin that the Board

would accept nothing less than final written warnings for Dunn and Knapp.


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       41.    At the end of the August 6 Board Meeting, the Board directed Harbin to

work with Jordan Health’s attorney to craft final written warnings to Dunn and Knapp,

to determine if restitution was legal and, if so, to effectuate the restitution, thereby

decreasing Ms. Frarey’s responsibilities despite the Misappropriation Scheme being a

compliance issue within the scope of her job responsibilities.

       42.    Upon information and belief, Harbin did not give final written warnings to

Dunn and Knapp as instructed by the Board.

       43.    In fact, shortly after the August 6 Board Meeting, Ms. Frarey obtained

information that Harbin had failed to determine if restitution was legal and had failed to

effectuate the restitution.

       44.    In light of that information, and despite Jordan Health having removed

Ms. Frarey from the resolution and discipline aspects of the investigation into the

Misappropriation Scheme that she had initiated, Ms. Frarey was concerned that a

potential fraud on the government had not been adequately rectified.

       45.    Accordingly, Ms. Frarey continued to investigate the resolution/restitution

aspect of the Misappropriation Scheme, even though she was not directly involved in

determining either its feasibility or implementation.

       46.    Ms. Frarey did this throughout August, September, and early November

2015 through email and personal conversations with Clune, and through telephone and

personal conversations with Harbin.

       47.    By reporting the Misappropriation Scheme to members of the Board, the

Board Compliance Committee and then to the Board as a whole, Ms. Frarey engaged in

protected activity and, further, made Jordan Health aware that she was investigating the




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potential that certain members of Jordan Health’s senior management had committed a

fraud on the government.

       48.    By continuing to investigate resolution of the Misappropriation Scheme

after her responsibilities had been decreased, Ms. Frarey engaged in protected activity

and, further, made Jordan Health aware that she was investigating the potential that

certain members of Jordan Health’s senior management had committed a fraud on the

government.


III.   Jordan Health, primarily through its President/CEO Harbin, began
       a pattern of retaliation against Ms. Frarey in light of her
       investigation into and reporting on the Misappropriation Scheme;
       and an independent investigation by special counsel confirmed the
       retaliation against Ms. Frarey.
       49.    Immediately following the initiation of Ms. Frarey’s investigation into, and

reporting on, the Misappropriation Scheme, Jordan Health, including through its

President/CEO Harbin, embarked on a campaign of retaliation against Ms. Frarey

because of her engagement in protected activity. This retaliation included but was not

limited to the following conduct.

       50.    In a meeting between Ms. Frarey and Harbin following the July 28 Board

Meeting, Harbin was dismissive, angry, and curt with Ms. Frarey when discussing the

Misappropriation Scheme.

       51.    On or about August 5, 2015, Jordan Health’s attorney refused to provide

advice to Ms. Frarey regarding whether restitution was legally possible so that she could

present an informed answer in her report to the Board at the August 6 Board Meeting.




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       52.    Before the August 6 Board Meeting and following a meeting between

Clune and Harbin, Clune told Ms. Frarey that “Harbin isn’t focusing on Dunn, but she is

blaming you for all of this.”

       53.    At the August 6 Board Meeting, Harbin interrupted, was derisive, and

attempted to disrupt Ms. Frarey’s presentation of the Misappropriation Scheme to the

Board, which prompted Board members repeatedly to ask Ms. Frarey to repeat what she

had been trying to say.

       54.    At the August 6 Board Meeting, Jordan Health’s Board decreased Ms.

Frarey’s responsibilities despite that the Misappropriation Matter was a compliance

issue within the scope of her job responsibilities.

       55.    On the morning of August 25, 2015, preceding the regular Board meeting

held later that evening, Harbin berated and screamed at Ms. Frarey on a telephone call,

and blamed Ms. Frarey for the decision to exclude Dunn and Knapp from the August 25

Board meeting, a decision of which Ms. Frarey had no involvement or knowledge.

       56.    At a senior leadership meeting on September 8, 2015, Harbin, while

looking at Ms. Frarey, said: “I have no problem with immediate termination of any one

of you who is not undividedly loyal to me.”

       57.    From the end of August 2015 through remainder of the year, Harbin

demeaned, humiliated, and undermined Ms. Frarey during pre-scheduled, one-on-one

meetings, as well as during other meetings.

       58.    At a meeting between Harbin, Knapp, and Ms. Frarey on October 15, 2015

(the “October 15 Meeting”), Harbin berated, bullied, and yelled at Ms. Frarey for taking

an employee’s compliance complaint, including telling Ms. Frarey that talking with the




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employee was “completely inappropriate,” despite Ms. Frarey’s job responsibilities as

CCO.

       59.    After the October 15 Meeting, a Jordan Health employee told Ms. Frarey

that she left her desk because she could not stand Harbin yelling at Ms. Frarey during

the October 15 Meeting.

       60.    On November 4, 2015, Ms. Frarey attended a meeting with Harbin and

Clune (“November 4 Meeting”), during which Harbin continued to harass and berate

Ms. Frarey.

       61.    At the end of the November 4 Meeting, Ms. Frarey informed Harbin that

she considered the meeting to be a continuation of the abusive, retaliatory conduct that

Harbin had exhibited toward Ms. Frarey following Ms. Frarey’s investigation and

reporting of the Misappropriation Scheme; Harbin responded by pointing at Ms. Frarey

and stating: “you’re done.”

       62.    Upon information and belief, as of the November 4 Meeting, Harbin still

had not resolved the Misappropriation Scheme.

       63.    In the days following the November 4 Meeting, Knapp—who was one of

the participants in the Misappropriation Scheme and a subject of Ms. Frarey’s

investigation—was directed to get a written statement from Ms. Frarey as part of an

investigation into Ms. Frarey’s having raised the issue of retaliation during the

November 4 Meeting.

       64.    At a one-on-one meeting between Harbin and Ms. Frarey on December 3,

2015, Harbin began the meeting with a threatening and crude story involving

inappropriate language.




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       65.    The following day, December 4, 2015, Ms. Frarey was called to Harbin’s

office and presented with a Final Written Warning.


IV.    An independent investigation by special counsel confirmed Jordan
       Health’s retaliation against Ms. Frarey even as Jordan Health
       continued to retaliate.
       66.    On December 4, 2015, Herriott and Wethers, whom Ms. Frarey had kept

informed of the retaliatory conduct, directed Ms. Frarey to write up a formal complaint

of retaliation detailing the retaliatory acts since Ms. Frarey became involved in

responding to the Misappropriation Scheme.

       67.    Ms. Frarey provided Herriott with a formal written complaint of

retaliation on December 14, 2015 (the “Retaliation Complaint”), about which Herriott

apprised the Board and Harbin.

       68.    Upon information and belief, Herriott then secured Board authorization

for investigation of the Retaliation Complaint by independent special investigative

counsel, the law firm of Littler Mendelson, and, additionally reopened the investigation

into the Misappropriation Scheme, which Littler Mendelson also investigated (together,

the “Independent Investigation”).

       69.    On or about January 11, 2016, Ms. Frarey attended an investigative

interview at Littler Mendelson concerning the Independent Investigation.

       70.    The following day, on or about January 12, 2016, Harbin stormed into Ms.

Frarey’s office and berated Ms. Frarey for asking human resources for materials to

provide to the investigator.




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      71.    Harbin also harassed and interrogated Ms. Frarey concerning her

attendance at the investigative interview and about the details of communications and

work done by Ms. Frarey on the day of the investigative interview.

      72.    On or about February 5, 2016, Ms. Frarey was called into Harbin’s office

where Knapp and Harbin were waiting.

      73.    Harbin then told Ms. Frarey: “I am immediately placing you on paid

administrative leave while Shelly[Knapp] investigates whether you are disrupting

operations” (“Knapp’s Pretextual Investigation”).

      74.    On or about February 9, 2016, Herriott called Ms. Frarey and told Ms.

Frarey about the results of the Independent Investigation as reported to the Board by

Littler Mendelson at a Board meeting held on or about February 9, 2016.

      75.    Specifically, Herriott told Ms. Frarey that the Independent Investigation

determined that (i) Harbin had engaged in a retaliatory course of conduct against Ms.

Frarey; (ii) the allegations of retaliation made by Ms. Frarey in her Retaliation

Complaint were found to be true, with supporting evidence cited to the Board; and (iii) a

second Board meeting (the “Follow-Up Board Meeting”) was to be scheduled so that

Littler Mendelson could provide advice regarding the proper response to the findings of

the Independent Investigation.

      76.    Herriott also told Ms. Frarey that the results of Ms. Frarey’s investigation

into the Misappropriation Scheme were upheld, and that Special Counsel was especially

damning of Knapp and Dunn’s conduct.

      77.    Herriott also told Ms. Frarey that Littler Mendelson had advised the Board

that terminating Ms. Frarey would prove her claim of retaliation.




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      78.    The Board also shared the information from Littler Mendelson with

Harbin.

      79.    On February 22, 2016, Ms. Frarey provided a written response to Knapp’s

Pretextual Investigation, ending her response by stating: “I consider both your

‘Investigation’ and my being placed on ‘administrative leave’ are only further evidence in

a pattern of pretextual, retaliatory abuse for doing my job as the Chief Compliance

officer of the Anthony L. Jordan Health Corporation.”

      80.    In that response, Ms. Frarey also objected to Knapp’s characterization of

the Misappropriation Scheme as a “purported compliance issue” with the following

statement: “As regards the matter being a ‘purported’ compliance issue, the board

minutes and resolution make it abundantly clear that the matter was an actual

compliance issue, as does the restitution made by you to the corporation. Additionally,

the matter involved approximately $8,000.00 plus related employer funded payroll

contributions, etc., being improperly deposited into your checking account or otherwise

accrued to your benefit, to all of which you had no entitlement and all of which was paid

for by an organization funded with government monies.”

      81.    Upon information and belief, despite the results of the Independent

Investigation and Littler Mendelson’s advice to the Board that terminating Ms. Frarey

would further prove the retaliation against her, Littler Mendelson was not allowed to

attend and present at the Follow-up Board Meeting.

      82.    Rather, at the Follow-Up Board Meeting on or about March 22, 2016, the

Jordan Health Board continued the retaliation against Ms. Frarey by voting to

recommend termination of Ms. Frarey’s employment on the basis that Harbin would




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have to work in a “toxic” relationship with someone who had filed a retaliation

complaint against her if Ms. Frarey was not terminated.

       83.    On March 23, 2016, Harbin sent a letter to Ms. Frarey informing her that

her employment with Jordan Health was terminated as of that day.


                                         CLAIMS

    FIRST CLAIM—FEDERAL FALSE CLAIMS ACT, 31 U.S.C. § 3730(H)

       84.    Plaintiff repeats and re-alleges each and every allegation set forth in

paragraphs 1 - 83, as if fully set forth herein.

       85.    Plaintiff brings this claim pursuant to the anti-retaliation provisions of the

False Claims Act, 31 U.S.C. § 3730(h).

       86.    By the above actions, defendant has violated the False Claims Act, 31

U.S.C. § 3730(h), including through, but not limited to, the following conduct:

              a.      retaliating against plaintiff in the terms and conditions of her

                      employment, including by harassing, demeaning, threatening, and

                      verbally abusing plaintiff;

              b.      creating a hostile work environment;

              c.      decreasing plaintiff’s responsibilities;

              d.      issuing a final written warning to plaintiff;

              e.      placing plaintiff on administrative leave;

              f.      dismissing the results of the Independent Investigation; and

              g.      terminating plaintiff from her employment with defendant.




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       87.    Plaintiff engaged in activities protected under the False Claims Act,

including by investigating and reporting on the Misappropriation Scheme, which was

directed at exposing a fraud on the government.

       88.    Defendant was fully aware that plaintiff was engaging in activities

protected under the False Claims Act.

       89.    Defendant retaliated against plaintiff because plaintiff was engaging in

activities protected under the False Claims Act.

       90.    Plaintiff is entitled to relief under 31 U.S.C. § 3730(h), to wit,

reinstatement with the same seniority status that plaintiff would have had but for the

retaliation; two (2) times the amount of back pay, interest on the back pay; and

compensation for any special damages sustained as a result of the discrimination,

including litigation costs and reasonable attorneys’ fees.

           SECOND CLAIM—N.Y. FALSE CLAIMS ACT, N.Y. FIN. LAW § 191(1).

       91.    Plaintiff repeats and re-alleges each and every allegation set forth in

paragraphs 1 - 90, as if fully set forth herein.

       92.    Plaintiff brings this claim pursuant to the anti-retaliation provisions of the

N.Y. False Claims Act, N.Y. State Finance Law § 191(1).

       93.    By the above actions, defendant has violated the N.Y. False Claims Act,

N.Y. State Finance Law § 191(1), including through, but not limited to, the following

conduct:

              a.      retaliating against plaintiff in the terms and conditions of her

                      employment, including by harassing, demeaning, threatening, and

                      verbally abusing plaintiff;

              b.      creating a hostile work environment;


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              c.     decreasing plaintiff’s responsibilities;

              d.     issuing a final written warning to plaintiff;

              e.     placing plaintiff on administrative leave;

              f.     dismissing the results of the Independent Investigation; and

              g.     terminating plaintiff from her employment with defendant.

       94.    Plaintiff engaged in activities protected under the N.Y. False Claims Act,

including by investigating and reporting on the Misappropriation Scheme, which was

directed at exposing a fraud on the government.

       95.    Defendant was fully aware that plaintiff was engaging in activities

protected under the N.Y. False Claims Act.

       96.    Defendant retaliated against plaintiff because plaintiff was engaging in

activities protected under the N.Y. False Claims Act.

       97.    Plaintiff is entitled to relief under the N.Y. False Claims Act, N.Y. State

Finance Law § 191(1), to wit, reinstatement with the same seniority status that plaintiff

would have had but for the retaliation; two (2) times the amount of back pay, interest on

the back pay; and compensation for any special damages sustained as a result of the

discrimination, including litigation costs and reasonable attorneys’ fees.


                                 JURY DEMAND

       98.    Pursuant to Rule 38 of the Federal Rules of Civil Procedure, plaintiff

demands a trial by jury of the above-captioned action.




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                         DEMAND FOR RELIEF

      WHEREFORE, Ms. Frarey demands judgment against Jordan Health as follows:

A)    On her first claim, damages including, but not necessarily limited to, two times

      the amount of back pay, interest on back pay, compensatory damages (including

      front pay), and all reasonable expenses that were necessarily incurred in the

      prosecution of this action, plus all reasonable attorneys fees and costs, as

      provided in False Claims Act, 31 U.S.C. § 3730(h);

B)    On her second claim, damages including, but not necessarily limited to, two times

      the amount of back pay, interest on back pay, compensatory damages (including

      front pay), and all reasonable expenses that were necessarily incurred in the

      prosecution of this action, plus all reasonable attorneys fees and costs, as

      provided in N.Y. False Claims Act, N.Y. State Finance Law § 191(1); and

C)    Awarding plaintiff the costs and disbursements of this action.


Dated: March 14, 2018
       Rochester, NY
                                         s/Michael Rothenberg
                                        Michael Rothenberg, Esq.
                                        David Rothenberg, Esq.
                                        Attorneys for Plaintiff
                                        ROTHENBERG LAW
                                        45 Exchange Boulevard, Suite 800
                                        Rochester, New York 14614
                                        Tel: (585) 232-1946
                                        Fax: (585) 232-4746
                                        Email: michael@rothenberglawyers.com
                                        Email: david@rothenberglawyers.com




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